         Case:5:17-cv-02990-BLF
         Case  19-16960, 11/05/2021, ID: 12279235,
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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                    NOV 05 2021
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 DANIEL WARMENHOVEN,                           No. 19-16960

               Plaintiff - Appellant,
                                               D.C. No. 5:17-cv-02990-BLF
   v.                                          U.S. District Court for Northern
                                               California, San Jose
 NETAPP, INC. and NETAPP
 EXECUTIVE MEDICAL                             MANDATE
 RETIREMENT PLAN,

               Defendants - Appellees.


        The judgment of this Court, entered September 13, 2021, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Rebecca Lopez
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
